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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-92-TNM
                                                   )
                                                   )
 COUY GRIFFIN,                                     )
                                                   )
        Defendant.                                 )
                                                   )

           GRIFFIN’S RESPONSE TO THE GOVERNMENT’S TRIAL BRIEF

       On March 17, the government filed a brief that it says summarizes its evidence at

Griffin’s trial and the legal issues likely to be brought before the Court. ECF No. 90. However,

the government’s description of the evidence is not accurate. Its framing of the legal issues is as

mistaken as it was over a year ago, when the government filed hundreds of charges under 18

U.S.C. § 1752 on the unexamined assumption that the statute would allow it to federalize

common law trespass. That the government did not understand the offense of which it had

accused hundreds was then underlined by its inaccurate claims, carelessly repeated a great many

times in court, that the vice president and vice president-elect remained in the Capitol Building

throughout the day of January 6.

       For many reasons the government will fail to prove Griffin’s guilt at trial. But its trial

brief also gives grounds for immediate dismissal. One business day before trial, the government

has indicated that its witness will not comply with the Court’s order requiring testimony from a

person with firsthand knowledge factually establishing that the vice president was present in the

“restricted building or grounds” when Griffin allegedly entered or remained in those places.




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Without such testimony, the government’s case cannot be proven beyond a reasonable doubt and

should therefore be dismissed.1

I.     THE GOVERNMENT MISAPPREHENDS THE LEGAL ISSUES

       A.      The government’s scienter argument conflicts with Supreme
               Court precedent; its citation to Rehaif is misleading

       Because the government misuses § 1752, at each element of the offense it cannot stand

up without the Court’s assistance. Although seemingly every case in the statute’s fifty-year

history had involved the U.S. Secret Service (USSS) designating the restricted area at issue, it

argued that can be bypassed for January 6 defendants. Now, having represented in hundreds of

charging instruments that the vice president and vice president-elect were present in the Capitol

Building on January 6, the government demands that the Court let that element slide too. It

similarly insists that it is immaterial whether Griffin knew that a USSS protectee was or would

be temporarily visiting in the “restricted building or grounds” at issue; mere knowledge that he

had entered some sort of restricted place suffices. ECF No. 90, pp. 13-14.

       The government does concede that the “knowingly” adverb in § 1752(a) modifies the

actus reus in each count of the Third Amended Information. ECF No. 90, p. 13. Thus, the

government acknowledges it must prove beyond a reasonable doubt that Griffin knowingly (a)

“enter[ed] or remain[ed] in any restricted building or grounds” and (b) “without lawful authority

to do so” (§ 1752(a)(1), Count 1); and that Griffin knowingly and “with intent to impede or

disrupt the orderly conduct of Government business or official functions, engag[ed] in disorderly

or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or

so that, such conduct, in fact, imped[ed] or disrupt[ed] the orderly conduct of Government



1
 In this brief, Griffin responds to the government’s trial brief arguments only. He will offer
different legal and factual arguments at trial, including through a Rule 29 motion.
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business or official functions” (§ 1752(a)(2), Count 2). But its claim that it need not prove that

Griffin knew in what sense the area he entered was “restricted” is new special pleading in this

thirteen-month-old case. ECF No. 90, p. 13.

       The government’s argument is not supported by authority and has no merit. Whether a

criminal statute requires the government to prove that the defendant acted knowingly is a

question of congressional intent. Staples v. United States, 511 U.S. 600, 605, 114 S. Ct. 1793,

128 L. Ed. 2d 608 (1994). “In determining Congress’ intent, [courts] start from a longstanding

presumption, traceable to the common law, that Congress intends to require a defendant to

possess a culpable mental state regarding ‘each of the statutory elements that criminalize

otherwise innocent conduct.’” Rehaif v. United States, 139 S. Ct. 2191, 2195 (2019) (quoting

United States v. X-Citement Video, Inc., 513 U.S. 64, 72 (1994)). This is known as the

“presumption in favor of ‘scienter.’” Rehaif, 139 S. Ct. at 2195. The presumption is applied

“even when Congress does not specify any scienter in the statutory text. . . But the presumption

applies with equal or greater force when Congress includes a general scienter provision in the

statute itself,” such as the modifier “knowingly.” Id.

       The government’s trial brief omits that the specific issue it raises——whether the

presumption of scienter extends to statutory definitions defining the actus reus more narrowly

than its dictionary definition—has been resolved against the government numerous times.

Staples involved the question of whether a criminal statute that prohibited receipt or possession

of an unregistered firearm should be construed so as to include a mens rea with respect to the

facts that brought a particular weapon within the limited, statutory definition of “firearm.” 511

U.S. at 603-04. Not every firearm met the statutory definition. The Court concluded that an

individual could be convicted under the statute only if the factfinder determined that the



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defendant knew of the factual characteristics that brought the weapon within the narrower

statutory definition. Id. at 619; see also X-Citement Video, 513 U.S. at 65-66 (similar). In

reaching this result, the Court rejected the government’s argument that knowledge of any kind of

firearm, whether or not it was as precise as the statutory definition, was dangerous and latently

criminal enough to create a mens rea up to the level of congressional intent. 511 U.S. at 603-04.

        The government quotes Rehaif for the proposition that facts having “‘nothing to do with

the wrongfulness of the defendant’s conduct’” are “‘not subject to the presumption in favor of

scienter.’” ECF No. 90, p. 13 (quoting 139 S. Ct. at 2196). That is doubly misleading. First, the

defendant’s conviction in that case was reversed precisely because the lower court failed to apply

the presumption of scienter to every element of 18 U.S.C. § 922(g), concerning unlawful

possession of a firearm by a felon. 139 S. Ct. at 2194. Relying on Staples and X-Citement Video,

the Court held that “the word ‘knowingly’ applies both to the defendant’s conduct [i.e.,

possessing a firearm] and to the defendant’s status [as, e.g., a felon]” which was defined

elsewhere in the statute. Id. Nothing about Rehaif aids the government’s argument that

Congress intended that § 1752’s “knowingly” would conveniently skip over the statute’s very

own definition of “restricted buildings or grounds,” the unlawful entry into which is the actus

reus.

        The government’s citation to Rehaif is misleading for another reason. Again, its quote

from that case: facts having “nothing to do with the wrongfulness of the defendant’s conduct”

are “not subject to the presumption in favor of scienter.” Rehaif, 139 S. Ct. at 2196. What the

government carefully omits: the Court was referring to “jurisdictional elements.” Id.

“Jurisdictional elements do not describe the ‘evil Congress seeks to prevent,’ but instead simply

ensure that the Federal Government has the constitutional authority to regulate the defendant’s



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conduct (normally, as here, through its Commerce Clause power).” Id. (quoting Luna Torres v.

Lynch, 57 U.S. __, __-__,136 S. Ct. 1619 (2016)).

       Section 1752’s definition of “restricted buildings or grounds” is not a “jurisdictional

element”—it describes where the crime must take place. Section 1752 does not federally

criminalize entry without lawful authority into any kind of “restricted area” whatsoever. Rather,

the statute states that “the term ‘restricted buildings or grounds’ means any posted, cordoned off,

or otherwise restricted area. . . (B) of a building or grounds where the President or other person

protected by the Secret Service is or will be temporarily visiting” because those protectees are

the statute’s focus, wherever they may be. § 1752(c)(1)(B). The presence of a USSS protectee

does indeed have something “to do with the wrongfulness of the defendant’s conduct” because

the crime concerns the security of that protectee. The defendant’s proximity to the protectee is

not incidental to the crime, like a jurisdictional element—it is the crime. If a defendant enters

“restricted buildings or grounds” without any thought or knowledge about a USSS protectee’s

presence, he poses a fundamentally different security question than the man who enters knowing

the president, specifically, will be found there. A range of security-related assumptions may be

made about the second defendant which cannot be made about the former. Section 1752 is not

concerned with the man who rushes back into a cordoned building to grab his dissertation which

is due in two hours—even if a protectee happens to be present unbeknownst to the man. It is

concerned with the man who enters the building because, for example, he intends to accost the

president.

       Critically, the mere act of entering into an area that is in any way restricted is not

necessarily criminal, much less the specific evil Congress intended to forbid in § 1752. If the

presumption of scienter does not extend to the statute’s own definition of “restricted buildings or



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grounds,” as the government proposes, the tools remaining for divining congressional intent are

dictionary definitions that do not describe crimes. In the context of physical space and presence,

“restricted” may mean any of the following:

      “Limited, confined.”

      “Limited to use by a certain group, spec. (a) non-Jews, (b) non-military personnel.”

      “Of a person: not allowed freedom of movement, esp. for political reasons.”

Restricted, Oxford English Dictionary (5th ed. 2002).

       Given these noncriminal definitions, it is easy to see why declining to extend the

presumption of scienter to the statute’s definition of “restricted buildings or grounds” would

deface congressional intent. Suppose the president were paying a diplomatic visit to the King of

Saudi Arabia. The summit is held in Mecca. Assume further that the defendant happens to be

visiting the same country. He is not even aware that the president is visiting the holy city. As a

non-Muslim, defendant is restricted from entering Mecca, as a matter of theological precept.

According to the government, the presumption of scienter only requires it to prove that defendant

read in Baedeker that entering Mecca is haram.

       Suppose the vice president is visiting Wing X of a hospital shelled by an enemy army.

Defendant is a family member of a patient in Wing Y in the same building. Not knowing the

vice president is present, he is nevertheless curious about what is happening in Wing X, whose

entrance is adorned with the sign, “Only for patients in Wing X and their family members.”

According to the government, the defendant had a § 1752 mens rea because he knew Wing X

was restricted—for some reason or the other.

       Or suppose the vice president is touring the reactor room of a nuclear power plant. A

janitor who has long been curious about the mysterious noises in the room decides to defy


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company policy that only technicians may enter. He did not know anything about the vice

president’s visit. According to the government, the janitor still possessed a § 1752 mens rea as

he knew the area he entered was “restricted.”

       The government cites to United States v. Bursey, 416 F.3d 301 (4th Cir. 2005)—but that

case perfectly illustrates its mistake. The Fourth Circuit could not have been more clear that the

defendant’s § 1752 conviction was affirmed precisely because the evidence showed that he knew

the president was present in the restricted area and not merely that Bursey knew about some

nonspecific “restricted area.” These are the mens rea facts the court of appeals found

determinative:

      Bursey “concede[d] that he knew that the President was visiting the area”;

      “the district court found that he understood the restriction to have been created by the

       Secret Service (as opposed to state or local law enforcement)”;

      “there was ample evidence that Bursey understood the area to have been restricted by the

       Secret Service, and thus a federally restricted zone”;

      “Bursey also acknowledged that, in protesting at two earlier visits to South Carolina by

       the incumbent President, he was advised in both instances that ‘the Secret Service had

       basically preempted the security arrangements’ of local police”;

      “A Secret Service Agent . . .approached Bursey and informed him that he could not

       remain in the restricted area.”

Bursey, 416 F.3d at 305-09.

       Notice that the government’s incorrect interpretation of a § 1752 mens rea is in no way

dictated by the Court’s rejection of Griffin’s motion to dismiss. Even if any law enforcement

agency may set the statute’s restricted area (in conjunction with the USSS), that need not imply


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that a defendant’s mens rea under the statute may lack any knowledge that a USSS protectee “is

or will be temporarily visiting” the area restricted by law enforcement for the protectee’s benefit.

§ 1752(c)(1)(B).2

       For all these reasons, and others that will be raised at trial, the Court should reject the

government’s invitation not to apply the presumption of scienter to the statute’s requirement that

a USSS protectee be or will be temporarily visiting the restricted area when the defendant enters

it or remains there.

       B.      The government’s last-minute argument that the vice president “would be”
               visiting the Capitol when Griffin allegedly entered the area is nonsensical

       On January 4, 2022, Griffin filed a motion displaying a still image depicting the earliest

possible moment when he allegedly entered a “restricted area” on January 6. ECF No. 66, p. 2.

Publicly available evidence had indicated that the vice president had already departed the Capitol

Building before that moment in time and exited through underground tunnels. Id.

       Griffin will show at trial that immediately after he publicized that photograph the FBI

began analyzing the metadata from dozens of video clips of Griffin filmed at the Capitol. The

metadata reveal when the clips were originally filmed and thus when Griffin allegedly entered

the “restricted area.” He will show that when the government later produced those videos to the

defense, they included creation time metadata for nearly all the clips—except the one showing

Griffin’s alleged entrance into the restricted area.



2
 It may still be recognized that the government’s mens rea argument is an outgrowth of the
unusual circumstance where some agency other than the USSS sets a § 1752 restricted area. (By
“sets” Griffin does not refer to physically placing barriers and posts. He refers to the process
whereby an entity designates the scope and size of the restricted perimeter. He refers to the
entity that decides.) Where the USSS sets a physically demarcated restricted area, patrols its
perimeter, and distributes USSS pins for lawful entry, as in Bursey and other reported § 1752
cases but unlike here, few defendants could plausibly claim ignorance of a protectee’s presence,
particularly when they are directly informed of it by the USSS. Bursey, 416 F.3d at 305-09.
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       Around the same time, the government changed its § 1752 argument. Now it began

claiming that even if the vice president was no longer “temporarily visiting” the restricted area

when Griffin allegedly entered or remained there—notwithstanding its many sworn

representations to the contrary—the protectee returned to the Capitol hours after Griffin had

departed the area and the statute defines “restricted buildings or grounds” to mean “a building or

grounds where the President or other person protected by the Secret Service is or will be

temporarily visiting” § 1752(c)(1)(B) (emphasis added).

       The government has not even preserved this argument for trial and even if it had, it is

chronologically nonsensical. Griffin has argued in multiple motions that under the concurrence

principle, the defendant’s guilty act and guilty mind must temporally coincide. E.g., Morissette

v. U.S., 242 U.S. 246, 251-52 (1952) (“Crime, as a compound concept, generally constituted only

from concurrence of an evil meaning mind with an evil-doing hand. . .”); ECF No. 73, p. 4; ECF

No. 82, p. 2. The government has not offered any argument or evidence showing how Griffin,

when he allegedly entered the “restricted area,” had knowledge that the vice president “would

be” returning hours afterward. The vice president himself in all likelihood did not then know.

The government’s argument is a mens rea anachronism. By never responding to this argument it

is plainly forfeited. E.g., Alvarez v. Lynch, 828 F.3d 288, 295 (4th Cir. 2016).

       C.      The government pretends this Court’s Jabr decision does not exist

       According to the Third Amended Information and under § 1752(c)(1)(B), the restricted

area at issue encompasses two places: the U.S. Capitol Building and its grounds. Third Am.

Information, Counts 1, 2. The Capitol Building and the Capitol Grounds are defined statutorily.

40 U.S.C. §§ 5101, 5102. Neither definition encompasses underground garages or tunnels.




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       The government offers one response to Griffin’s interpretation: “the definition of the

United States Capitol Building in Title 40 is inapplicable to Section 1752.” ECF No. 90, p. 12.

That is not an argument about text; it is ipse dixit. The government ignores United States v.

Jabr, 2019 U.S. Dist. LEXIS 238718, 18-cr105-PLF (D.D.C. May 16, 2019), where the

government recently made the same argument before a different judge in this Court and it was

rejected.

       Jabr was prosecuted for entering “‘any posted, cordoned off, or otherwise restricted area .

. . of the White House or its grounds.’” 2019 U.S. Dist. LEXIS 238718, *15 (quoting §

1752(c)(1)(A)). Specifically, she was arrested on the steps of the U.S. Treasury Building,

adjacent to the White House. The question was whether the Treasury steps constituted “the

White House or its grounds.” For its part, the government contended that the Treasury steps were

part of the White House “grounds,” as they were encompassed within—“White House

Complex.” 2019 U.S. Dist. LEXIS 238718, *18.

       Jabr, on the other hand, cited a statute designating the White House to be administered by

the National Park Service (NPS). Id. Just like 40 U.S.C. § 5102 does with respect to the Capitol

Grounds, the NPS statute gave a metes and bounds definition of the White House Grounds that

did not include the Treasury steps. Id., *19. The White House Grounds were coterminous with

the § 1752 “grounds,” Jabr argued. She also noted that the 1997 Omnibus Consolidated

Appropriations Act provided that “‘the White House Security Complex’” included “‘the White

House, the White House grounds, the Old Executive Office Building, the New Executive Office

Building, the Blair House, the Treasury Building. . .’” Id., *20 (quoting Pub. L. No. 104-208, §

8100, 110 Stat. 3009 (1996)). Congress, the Jabr Court observed, purposefully “differentiated”

in the Act’s list between “the ‘White House,’ the ‘White House grounds,’ and the ‘Treasury



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Building.’” Id. Identically, Congress has here “differentiated” between the “United States

Capitol,” the “Capitol Visitor Center,” underground “subways,” and “real property underlying”

the Capitol building. 40 U.S.C. § 5101.

       In Jabr the government countered that § 1752’s “grounds” should be informed by the

broadest dictionary definition. 2019 U.S. Dist. LEXIS 238718, *21. This Court rejected that

argument and granted the defendant’s Rule 29 motion. “‘Where Congress uses the same term in

the same way in two statutes with closely related goals, basic canons of statutory construction

suggest a presumption that Congress intended the term to have the same meaning in both

contexts.’” Id., *19 (quoting New Hampshire v. Ramsey, 366 F.3d 1, 26 (1st Cir. 2004) (citing

Sullivan v. Stroop, 496 U.S. 478, 484 (1990)). Continued the Court:

       [T]he White House and its grounds refers to a defined area—specifically, eighteen acres.
       The “restricted area” of the White House or its grounds could refer to all eighteen acres,
       surrounded by a fence, or to a subsection of the White House grounds, further restricted.
       What is significant for the current discussion is that the “White House and its grounds”
       refers to a finite part of the “White House complex,” and Congress deliberately referred
       to the “White House grounds,” not the “White House Complex,” in Section 1752. To
       read the surrounding text as referring to a larger geographic area would be contrary to
       that legislative choice and the statutory language.

Jabr, 2019 U.S. Dist. LEXIS 238718, *21.

       Here, the government filed a declaration from a U.S. Capitol Police Officer, Sergeant

Stephen T. James, distinguishing between the Capitol Building and the “Capitol Complex” and

stating that by 2:28 p.m. on January 6, Vice President Pence had relocated to the latter. ECF No.

81, p. 3. The government’s position here rehashes its losing argument in Jabr. Section 1752

refers to restricted “buildings” and “grounds,” not a restricted “complex.” Jabr, 2019 U.S. Dist.

LEXIS 238718, *21. Congress’s differentiating in Title 40 between (a) the “United States

Capitol,” the “Capitol Visitor Center,” underground “subways,” “real property underlying” the

Capitol building (§ 5101), and (b) the Capitol Grounds (§ 5102) informs the correct


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interpretation of “building” and “grounds” in § 1752 because “‘where Congress uses the same

term in the same way in two statutes with closely related goals, basic canons of statutory

construction suggest a presumption that Congress intended the term to have the same meaning in

both contexts.’” Id. (quoting Ramsey, 366 F.3d at 26).

       If anything, Title 40’s goals are far more closely related to § 1752’s than were the

comparator statutes’ goals in Jabr. Just like § 1752, Title 40 delimits areas that will be patrolled

by law enforcement to enforce criminal offenses defined in the same statutory scheme. Section

5102 defines “Capitol Grounds” and § 5104 in turn defines crimes that may not be committed on

the Capitol Grounds. Logically, there is no sense in presuming that Congress intended a meaning

of “grounds” and “building” in § 1752 different from the definitions of those terms in 40 U.S.C.

§§ 5101, 5102 when, for example, it contemplated a Secret Service protectee’s quadrennial

“visits” to the U.S. Capitol and its Grounds.

       Griffin’s interpretation is consistent with common sense. The purpose of § 1752 is to

keep unauthorized people from coming too close to the physical space of a Secret Service

protectee. When the protectee is present in the Capitol Grounds, § 5102, or the Capitol Building,

§ 5101, undesired proximity is always a risk, for all the places in those definitions lie above

ground in public. By contrast, if the protectee has repaired to an underground bunker north of

Constitution Avenue through a network of subterranean tunnels inaccessible to the public, it

makes little if any practical sense to enforce a § 1752 claim against a defendant who, as a matter

of basic chronology, necessarily cannot be causally responsible for the protectee’s departure

from the “building and grounds,” even assuming the legal arguments worked, which they do not.




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       The government has given the Court no reason to cast aside “basic canons of statutory

construction” which “suggest a presumption that Congress intended the term[s] to have the same

meaning in both contexts.” Jabr, 2019 U.S. Dist. LEXIS 238718, *21.

       D.      The government’s definitions of “disorderly” and “disruptive” conduct will
               trigger an as-applied First Amendment challenge if they are deemed to reach
               Griffin’s leading of public prayer at the Capitol

       The government defines “disorderly conduct” to mean when a person is “unreasonably

loud and disruptive under the circumstances. . .” ECF No. 90, p. 3. It defines “disruptive

conduct” as a “disturbance that interrupts an event, activity, or the normal course of a process.”

Id.

       The government’s definitions are incorrect because they lack a mens rea element. The

Court should look to the D.C. Code’s definitions of disorderly and disruptive conduct which

properly require a guilty mind. In this district, disorderly conduct occurs where, “(a) in any

place open to the general public” a person, “(1) Intentionally or recklessly act[s] in such a

manner as to cause another person to be in reasonable fear that a person or property in a person’s

immediate possession is likely to be harmed or taken. (2) Incite[s] or provoke[s] violence where

there is a likelihood that such violence will ensue; or (3) direct[s] abusive or offensive language

or gestures at another person . . . in a manner likely to provoke immediate physical retaliation or

violence by that person or another person.” D.C. Code § 22-1321. The Court should also apply

this definition because in passing § 1752, Congress did not express an intent to preempt the field

of local laws and ordinances defining “disorderly conduct.” Thus, because Griffin’s conduct

occurred in the District of Columbia, § 22-1321 controls.

       At trial, the government will not prove that Griffin satisfied any of these definitions of

disorderly or disruptive conduct. To the contrary, it will see that Griffin peacefully led a prayer



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on the Capitol steps, reciting 2 Chronicles 7:14. It will see that the members of the crowd

listening to Griffin were calmed and pacified compared to protesters around them.

        To the extent the government’s definitions are applied and the Court finds they somehow

reach Griffin’s conduct, he will raise an as-applied First Amendment challenge. See Hess v.

Indiana, 414 U.S. 105 (1973) (Indiana’s disorderly conduct statute unconstitutional as applied to

protester’s remarks to crowd about “taking the fucking streets later” after being ordered off

public property by sheriff); see also Lederman v. United States, 89 F. Supp. 2d 29, 36 (D.C. Cir.

2000) (steps at East Front of Capitol a public forum); Jeanette Rankin Brigade v. Chief of

Capitol Police, 342 F. Supp. 575 (D.D.C. 1973) (Title 40 parading on the grounds offense

facially unconstitutional).

II.     THE GOVERNMENT’S CONTINUED ATTEMPTS TO RESTRICT CROSS-
        EXAMINATION ARE INAPPROPRIATE

        The Court has already ruled that “If the government wishes to proceed on Count One of

the Third Amended Information, it is hereby ORDERED to have a witness present at trial who

can speak based on first-hand knowledge as to the whereabouts of former Vice President Pence

during the alleged offense conduct.” 3/09/22 Minute Order.

        Griffin had previously explained why prohibiting him from cross-examining a witness on

facts going to an element of the offenses with which he is charged would violate his

Confrontation Clause right under the Sixth Amendment. United States v. Foster, 986 F.2d 541

(D.C. Cir. 1993); ECF No. 75, p. 3.

        However, the government’s trial brief states that its USSS witness will not comply with

that order. The witness “will not answer any questions about the precise location of the

emergency relocation site to which the Vice President was taken on January 6, 2021.” ECF No.

90, p. 10.


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       This is misleading. As Griffin will show at trial, images of where the vice president was

relocated are now public information. As he will show at trial, the place to which the vice

president was relocated is not a special permanent location where protectees are typically

relocated according to planning. Rather, as he will show at trial, the place to which the vice

president was taken was a security expedient. As Griffin will show at trial, the place is not

located in the § 1752 “restricted area.” As Griffin will show at trial, the government’s many

representations that the vice president “remained in the United States Capitol from the time he

was evacuated from the Senate Chamber until the sessions resumed,” ECF No. 1-1, p. 3

(criminal complaint), are no less misleading than its representations that the vice-president elect

was in the Capitol Building that day. ECF No. 31.

       But even if all of that were not true, restricting Griffin’s cross-examination rights on the

government’s terms would be in error. Even if the “secure location” were not just a one-time

expedient and actually implicated “future security of a Head of State,” ECF No. 90, p. 10, the

proper remedy would not be to permit the witness to refuse all questions about the vice

president’s presence, as the government suggests. The witness could answer questions such as

whether the vice president left the Capitol Building itself by 2:28 p.m., as another government

witness has already stated in a sworn declaration based on a review of CCV footage. The vice

president’s absence from the Capitol Building does not reveal the “precise secure location” and

does not implicate “future security of a Head of State.” That the government refuses even to

address this simple expedient creates the impression that the language of national security is

being exploited in an attempt to cloak a great many misrepresentations that have been filed in

court about the vice president’s presence in the Capitol Building.




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        As shown above and elsewhere, the USSS witness’s testimony is plainly required to

establish Griffin’s guilt or innocence. The government has stated that the witness will not

provide this testimony and the government has given no indication that it is even willing to

compromise on how questions are asked in order to accommodate both parties. The Court should

therefore dismiss the charges. If it does not, it should at least give Griffin the opportunity to

conduct relevant cross-examination and, if the witness does not answer questions, address the

parties’ motions at that time.

III.    THE GOVERNMENT’S DESCRIPTION OF THE EVIDENCE IS INACCURATE

        The government represents that Griffin’s “own statements show that he was well aware

that Vice President Pence was present at the Capitol on January 6.” ECF No. 90, p. 14. Notice

that the government does not say that the evidence will show that Griffin was aware that the vice

president was present when Griffin was on the Capitol Grounds.

        That is because, as the government knows, the evidence will show that Griffin had

virtually no knowledge of how the joint session’s count of electoral certificates proceeded, no

knowledge of who was there, and no knowledge of when the process began and completed. The

evidence will show that Griffin believed that the process had been completed long before he

arrived at the Capitol Grounds. It will show in several ways that Griffin did not “know”

something that was not in fact true: that Vice President Pence was in the Capitol Building when

Griffin stood outside it.

        The government represents that Griffin walked “over several barriers.” ECF No. 90, p. 1.

The evidence will show that is flatly untrue. The government will not present evidence that

Griffin saw a single “Do No Enter” sign anywhere. It will not present evidence that a single law

enforcement officer advised Griffin not to enter the “restricted area.”



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       The government will present evidence showing that hundreds or thousands of similarly

situated protesters did exactly what Griffin did on January 6 and have not been charged with any

crime, much less Griffin’s. The evidence will show that the government selected Griffin for

prosecution based on the fact that he gave a speech and led a prayer at the Capitol, that is,

selected him based on protected expression.



Dated: March 18, 2022                         Respectfully submitted,


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                                      Certificate of Service
       I hereby certify that on the third day of March 18, 2022, I filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to the following CM/ECF user(s):

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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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